                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )      Criminal Action No. 1:15-cr-00003 (RDA)
                                             )
LAMONT ANDRE THOMAS,                         )
                                             )
       Defendant.                            )

                                            ORDER

       This matter comes before the Court on Defendant Lamont Andre Thomas’s

(“Defendant”) pro se Motion for Temporary Injunction (“Motion”). Dkt. 96. Considering the

Motion, the Government’s Response and Opposition to Defendant’s Motion (“Opposition”)

(Dkt. 99), and for the following reasons, the Motion is DENIED.

                                      I. BACKGROUND

       On April 21, 2015, Defendant pleaded guilty to one count of using, carrying, and

brandishing a firearm during and in relation to a crime of violence, in violation of 18 U.S.C. §§

924(a)(1)(A)(ii) and 2. Dkt. Nos. 43; 44, 1. In doing so, Defendant admitted to participating in

multiple robberies. Dkt. 45, ¶¶ 5-11. On September 9, 2015, the Court sentenced Defendant to

84 months of imprisonment and three years of supervised release. Dkt. 64.

       On September 17, 2015, Defendant noticed his appeal. Dkt. 70. On appeal, the United

States Circuit Court for the Fourth Circuit appointed counsel for Defendant.            Dkt. 82.

Defendant’s appellate counsel filed a brief pursuant to Anders v. California, 386 U.S. 738

(1967), which “rais[ed] the issue of whether th[is] [ ] [C]ourt erred in denying [ ] [Defendant’s]

post-plea motion to dismiss the indictment but concluding that there are no meritorious grounds

for appeal.” Dkt. 94, 2. However, Defendant filed “pro se supplemental briefs” with the Fourth
Circuit wherein he “principally contend[ed] his predicate offense d[id] not categorically qualify

as a crime of violence in light of United States v. Davis, 139 S. Ct. 2319 (2019).” Dkt. 94, 2. On

October 5, 2020, the Fourth Circuit upheld Defendant’s conviction “[i]n light of United States v.

Mathis, 932 F.3d 242, 263 (4th Cir. 2019) ([noting that] Hobbs Act robbery constitutes a crime

of violence under the force clause)[,]” and dismissed the appeal. Dkt. 94, 2.

       On October 22, 2020, Defendant filed the instant Motion with this Court, which the

Government opposed. Dkt. Nos. 96; 99.

       The Court dispenses with oral argument because it would not aid in the decisional

process. Local Crim. R. 47(J). This matter is now fully briefed and ripe for disposition.

                                         II. ANALYSIS

       Moving pro se, Defendant has requested that this Court grant him “a temporary

injunction to halt the execution of [his] supervised release, collection of restitution, and other

post-conviction orders until the Supreme Court [of the United States]” decides whether to issue

him a Writ of Certiorari. Dkt. 96, 1. As Defendant concedes, the United States Court of

Appeals for the Fourth Circuit has already upheld his conviction. Id. at 1; Dkt. 99, 5; see

generally, Dkt. 94, 5. As such, it appears that Defendant is seeking certiorari in the United

States Supreme Court on the following three issues: (1) that this Court lacked subject-matter

jurisdiction over this case; (2) the Government did not establish that the physical location of the

offense was within the special maritime or territorial jurisdiction of the United States; and (3) the

statute of conviction is unconstitutional. See generally, Dkt. 96.

       This Court is constrained to deny the Motion because the Motion is improperly before

this Court.




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       It is axiomatic that “‘when a court decides upon a rule of law, that decision should

continue to govern the same issues in subsequent stages in the same case.’” United States v.

Aramony, 166 F.3d 655, 661 (4th Cir. 1999) (quoting Christianson v. Colt Indus. Operating

Corp., 486 U.S. 800, 816 (1988)). As such, “relitigation of issues expressly or impliedly decided

by the appellate court” is generally prohibited. United States v. Bell, 5 F.3d 64, 66 (4th Cir.

1993). “[O]nce the ‘decision of an appellate court establishes ‘the law of the case,’ it ‘must be

followed in all subsequent proceedings in the same case in the trial court or on a later appeal. . .

unless’” at least one of the following is true: “(1) a subsequent trial produces substantially

different evidence, (2) controlling authority has since made a contrary decision of law applicable

to the issue, or (3) the prior decision was clearly erroneous and would work manifest injustice.”

Aramony, 166 F.3d at 661 (quoting Sejman v. Warner-Lambert Co., 845 F.2d 66, 69 (4th Cir.

1988) (internal quotations and citations omitted)).

       In the instant matter, the Fourth Circuit has upheld Defendant’s conviction, rejected

Defendant’s constitutional claim, and “reviewed [Defendant’s appellate] briefs and the record for

any meritorious issues” pursuant to Anders, 386 U.S. at 744, and “found none.” Dkt. 94, 5

(citing Anders, 386 U.S. at 744 (holding that if court-appointed counsel finds his client’s appeal

to be “wholly frivolous,” the appellate court must conduct a “full examination of all the

proceedings” to determine whether that is the case, and if so convinced, may grant counsel’s

request to withdraw and dismiss the appeal where federal law is implicated). Thus, the Fourth

Circuit has established the “law of th[is] case,” and in turn, this Court must follow that law it

unless one of the aforementioned exceptions are present.          Reviewing the case, no noted

exception is present. And because the interests of “hierarchy and finality” dictate that district

courts are prohibited “from considering questions that the mandate of a higher court has laid to



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rest,” this Court cannot grant Defendant’s request for a temporary injunction where the Fourth

Circuit has “expressly and impliedly,” United States v. Bell, 5 F.3d 64, 66 (4th Cir. 1993),

rejected Defendant’s claims, upheld his conviction, and dismissed the appeal.

       Thus, this Court DENIES Defendant’s request for a temporary injunction.

       It is SO ORDERED.

Alexandria, Virginia
December 16, 2020




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